Case 1:21-cv-00086-JMS-MJD Document 71 Filed 02/16/22 Page 1 of 3 PageID #: 401




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 ANDREA MOREHEAD ALLEN,
                                                        Case No. 1:21-cv-00086-JMS-MJD
                    Plaintiff,
        v.                                              Judge Jane Magnus-Stinson

 TEGNA, INC. VIDEOINDIANA, INC.                         Magistrate Judge Mark J. Dinsmore
 WTHR CHANNEL 13,

                    Defendant.

                            JOINT MOTION TO CONTINUE TRIAL

        Plaintiff Andrea Morehead Allen and Defendants TEGNA Inc. and VideoIndiana, Inc.

 d/b/a WTHR Channel 13 (“the Parties”) pursuant to Fed. R. Civ. P. 16(b), Local Rule 16-3, and

 this Court’s Order granting Plaintiff’s Motion for Extension of Case Management Deadlines, ECF

 No. 70, respectfully request that the Court set the trial in this matter to be held on or after Monday,

 May 2, 2023. In support of this motion, the Parties state as follows:

        1.      Plaintiff previously filed a Complaint and Amended Complaint based on alleged

 violations of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12101, et seq. (ECF No.

 1, 15). Plaintiff retained new counsel on July 13, 2021. (ECF No. 39). On November 2, 2021,

 Plaintiff’s new counsel moved the Court and was granted leave to file her Second Amended

 Complaint and to continue all deadlines in the case by 90 days. (ECF No. 47, 48, 51, 52). Plaintiff

 added four new counts to her lawsuit claiming race discrimination; gender discrimination,

 harassment and hostile work environment, and breach of contract. (ECF No. 53, ¶¶ 100-114.)

 Defendants’ responsive pleading was due on November 26, 2021 and it filed an answer and partial

 motion to dismiss on that date. (ECF No. 51, 56-59). Defendants’ Motion has been fully briefed

 and is currently pending before the Court. (ECF No. 59-61).
Case 1:21-cv-00086-JMS-MJD Document 71 Filed 02/16/22 Page 2 of 3 PageID #: 402




        2.      On January 28, 2022, Plaintiff’s filed her Second Motion for Extension of Time

 thereafter to complete necessary depositions, which the Court granted on January 31 2022. (ECF

 No. 64, 70).

        3.      Non-expert and liability discovery closes on April 8, 2022 and dispositive motions

 are due on May 6, 2022. (ECF No. 70). Expert disclosures are due in June and July 2022 and

 damages discovery closes on September 16, 2022. (Id.). The Court has requested that the Parties

 provide an agreeable trial date after February 2023. (Id.).

        4.      Given Counsel for the parties’ trial and discovery schedules in other matters, the

 parties request a trial date on or after Monday, May 2, 2023.

 DATED: February 16, 2022                              Respectfully submitted,


 PLAINTIFF ANDREA ALLEN MOREHEAD                       DEFENDANTS TEGNA INC and
                                                       VIDEOINDIANA, INC. D/B/A WTHR
                                                       CHANNEL 13



 /s/Amber K. Boyd                                      /s/ Christina Jaremus
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                                                  2
Case 1:21-cv-00086-JMS-MJD Document 71 Filed 02/16/22 Page 3 of 3 PageID #: 403




                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 16, 2022, I served the foregoing via the CM/ECF

 system, which will send notification of such filing to the following at their e-mail addresses on

 file with the Court:

                                Amber K. Boyd
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                                               /s/ Christina Jaremus
                                               One of the Attorneys for Defendants




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